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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
JAMES E. PIETRANGELO, II                   )
                                           )
                        Plaintiff,        )  Judge Dabney L. Friedrich
                                           )
            v.                             ) Civil Action No. 1:18-cv-01943-DLF
                                           )
REFRESH CLUB, INC. (dba THE WING), and     )
THE WING DC, LLC (dba THE WING aka                    )
THE WING DC)                              )
                                          )
                        Defendants.       )
__________________________________________)

                               MOTION FOR STATUS OF DECISION

       Pursuant to Fed.R.Civ.P. 1 and the Court’s inherent powers, and out of an abundance of

caution in diligently prosecuting his claims, Plaintiff hereby moves the Court for a status on the

Court’s decision of Defendants’ September 26, 2018 Motion to Dismiss and surrounding papers.

While Plaintiff is very cognizant of the Court’s full and busy schedule (including many cases which

no doubt take precedence over Plaintiff ’s), Plaintiff also notes that more than a month ago, on April

3, 2019, the Court rendered a decision in Case No. 1:18-cv-01941—only two case numbers before

the instant case—albeit in that case the plaintiff did not respond to the motion to dismiss, making a

decision somewhat easier. Moreover, there are many District Court cases numbered after the instant

case in which decisions (including decisions on motions to dismiss) have already been rendered by

other judges.

       The matter is also critical because Plaintiff in the complaint has alleged, among other things,

irreparable harm to himself and the public by Defendants’ continuing violations of the D.C. Human

Rights Act. See Compl. at ¶ 37 (“Defendants’ said practices and violations are continuing in nature,

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and continue to irreparably harm Plaintiff and the public, and there is no adequate remedy at law for

these continuing irreparable harms.”). He thus seeks both preliminary and permanent injunctive

relief. See id. at Prayer for ¶ c.    However, he cannot efficiently seek, or effectively be granted,

preliminary injunctive relief until the motion to dismiss—which is based in part on lack of subject-

matter jurisdiction—is decided on its merits—since likelihood of success on the merits of the case

is a necessary factor for preliminary relief, see Navajo Nation v. Azar, 292 F.Supp.3d 508, 512 (D.D.C.

2018), and a look at the merits of the case, including by discovery, requires subject-matter

jurisdiction.

        Plaintiff and the public thus suffer irreparable harm each day that the motion to dismiss is

not decided.    And this irreparable harm is plainly evident from the fact that—as evidenced in

Plaintiff ’s four motions for judicial notice and in his May 2019 Declaration which are fully

incorporated herein—Defendants day after day brazenly engage in discrimination against men

(including Plaintiff).   Such un-remedied brazen discrimination undermines public trust in and

respect for principles of equality, rule of law, and justice.

        Although perhaps unnecessary, Plaintiff certifies that on or about May 15, 2019, via email,

he conferred with opposing counsel concerning this Motion, and counsel stated that Defendants

take no position on the motion.

        For these reasons, Plaintiff asks the Court for a status update.

                                                          Respectfully submitted,

                                                          /s/ James E. Pietrangelo, II
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                                                          JAMES E. PIETRANGELO, II
                                                          Pro Se




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